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m {`L.R\% UNITED STATES DISTRICT COURT
-\\\p§< *”` w%C,'q§§§>§\>§soUTHERN DISTRICT oF H\IDIANA

, “(\ \§® EVANSVILLE DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

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v. Cause NO. 3;18-cr-ed RLY/MPB

LEONIDES OSCAR QUUADA-VELASQUEZ,
AKA “ESAU ALBERTO FERRUFINO-LOPEZ,”

Defendant.

I N D I C T M E N T
[8 U.S.C. §§ 1326(a) and (b) ~ Unlawful Re-entry of an Alien Previously Removed or Deported
from the United States]
The Grand Jury charges that:
On or about March 28, 2018, in the Southern District of Indiana,
LEONIDES OSCAR QUIJADA-VELASQUEZ,
the defendant, being an alien, after having been arrested and deported from the Uni'ced States to
El Salvador, on or about August 28, 2009, and on or about December 15, 2010, Was found to be
in the United States in Dubois County, Indiana, Without the Attorney General of the United
States or the Seeretary of Horneland Security having expressly given consent to the defendant’s

reapplying for admission to the United States and the August 28, 2009 and December 15, 2010

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removals occurred after the defendant had sustained a felony conviction

All of Which is in violation of Title 8, United States Code, Sections 1326(a) and (b).

A TRUE BILL:

FORE ERSON

JOSH J. l\/IINKLER
United States Attorney

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Todd S.'Shellenbarger / y
Assistant United States Attorney

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